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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

           MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                    )
                                            )      CRIMINAL ACTION NO.
      v.                                    )          2:12cr84-MHT
                                            )              (WO)
COURTNEY JOHNSON                            )


                                         ORDER

       Based on the agreement and representations of the

parties made in open court during the hearing on August

17,        2016,    it       is   ORDERED       that     defendant    Courtney

Johnson’s          conditions       of     probation       are   modified    as

follows:

       1.     Defendant           Johnson        shall     be    placed      on

electronically monitored home confinement until further

order of this court.

       2.     By September 20, 2016, the parties shall submit

to    the     court      a    joint   plan       for   providing     defendant

Johnson        with      vocational         rehabilitation         and    other

appropriate services, designed to address his cognitive
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disabilities and compliance issues, that he can use on

a regular basis.

    3.     The    Probation        Department        shall       arrange       for

defendant          Johnson         to         receive            appropriate,

individualized mental-health counseling to address his

compliance       issues,      including        but        not     limited       to

substance abuse, at least two times per month.

    3.     The Federal Public Defender shall survey and

submit     to     the    court,      by      September          20,    2016,     a

description of available programs and services designed

for (or at least suitable for) persons with cognitive

disabilities and/or mental illness, that the court can

use in fashioning services for defendants before this

court.

    4.     A     hearing      to    discuss         the    parties’          joint

proposed        plan    for    appropriate           services          for     the

defendant,       and    to    address        the     pending          revocation

petition       (doc.    no.   392)      is    set    at    10:00        a.m.    on

September 27, 2016, in Courtroom 2FMJ of the Frank M.
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Johnson   Jr.    United     States     Courthouse      Complex,        One

Church Street, Montgomery, Alabama.

    DONE, this the 18th day of August, 2016.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
